              Case 23-11069-CTG        Doc 991-2    Filed 10/30/23     Page 1 of 2




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


 In re:                                          Chapter 11

 YELLOW CORPORATION, et al.,                     Case No. 23-11069 (CTG)

                 Debtors.                        (Jointly Administered)

                                                 Hearing Date: December 12, 2023 at 10 a.m. (ET)
                                                 Objection Deadline: November 13, 2023 at 4 p.m.
                                                 (ET)

                      NOTICE OF MOTION
             OF SHANE SNIDER AND CARLA MARIA SNIDER
FOR RELIEF FROM THE AUTOMATIC STAY PURSUANT TO SECTION 362(d)
                  OF THE BANKRUPTCY CODE

          PLEASE TAKE NOTICE that on October 30, 2023, Shane Snider and Carla Maria Snider

(together, the “Movants”) filed the Motion of Shane Snider and Carla Maria Snider for Relief from

the Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code (the “Motion”) with the

United States Bankruptcy Court for the District of Delaware which seeks relief from the automatic

stay.

          PLEASE TAKE FURTHER NOTICE that any objections to the Motion must be filed

on or before November 13, 2023, at 4: p.m. (ET) (the “Objection Deadline”) with the United

States Bankruptcy Court for the District of Delaware, 3rd Floor, 824 Market Street, Wilmington,

Delaware 19801. At the same time, you must serve a copy of any objection upon Movant’s

undersigned counsel so as to be received on or before the Objection Deadline.

          PLEASE TAKE FURTHER NOTICE that a hearing on the Motion will be held on

December 12, 2023, at 10 a.m. (ET) before the Craig T. Goldblatt in the United States Bankruptcy

Court for the District of Delaware, 824 N. Market Street, 3rd Floor, courtroom 7, Wilmington,

Delaware 19801, if an objection is filed.
             Case 23-11069-CTG          Doc 991-2     Filed 10/30/23      Page 2 of 2




        The hearing date specified above may be a preliminary hearing or may be consolidated

with the final hearing, as determined by the Court.

        The attorneys for the parties shall confer with respect to the issues raised by the Motion

in advance for the purpose of determining whether a consent judgment may be entered and/or for

the purpose of stipulating to relevant facts such as value of the property, and the extent and

validity of any security interest.

        PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OF A HEARING.

Dated: October 30, 2023
Wilmington, Delaware

                                                       /s/ Michael J. Joyce
                                                      Michael J. Joyce (No. 4563)
                                                      JOYCE, LLC
                                                      1225 King Street, Suite 800
                                                      Wilmington, DE 19801
                                                      (302)-388-1944
                                                      mjoyce@mjlawoffices.com


                                                      Counsel to Shane Snider and Carla Maria
                                                      Snider




                                                 2
